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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                                 Case No. 93-cr-40050-JPG

DAVID REED,

                Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on defendant David Reed’s motion to reconsider the

Court’s May 14, 2010, order (Doc. 185) denying his motion for leave to proceed in forma

pauperis (Doc. 180) in his appeal of the Court’s April 21, 2010, order dismissing for lack of

jurisdiction Reed’s pro se motion for a reduction of his criminal sentence pursuant to 18 U.S.C.

§ 3582(c)(2) and United States Sentencing Guidelines Manual § 1B1.10 (Doc. 166) and granting

his counsel’s motion for leave to withdraw (Doc. 172). Reed should have filed his motion for

reconsideration in the Court of Appeals as a motion for leave to proceed in forma pauperis,

which is the next step in a party’s effort to obtain pauper status on appeal after a district court

has denied him permission. See Fed. R. App. P. 24(a)(5). The Court TRANSFERS the pending

motion (Doc. 185) to the Court of Appeals and finds that the motion (Doc. 185) is MOOT at the

District Court level.

IT IS SO ORDERED.
DATED: June 17, 2010

                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               DISTRICT JUDGE
